            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 1 of 56




 1                                                             THE HONORABLE JOHN H. CHUN

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8
     FEDERAL TRADE COMMISSION, et al.,
                                                             CASE NO.: 2:23-cv-01495-JHC
 9
                      Plaintiffs,
                                                             JOINT STATUS REPORT AND
10
                                                             DISCOVERY PLAN
                 v.
11
     AMAZON.COM, INC., a corporation,
12
                      Defendant.
13

14         Pursuant to Fed. R. Civ. P. 26(f), Local Civil Rules 16(a)(2) and 26(f), and the Court’s

15 October 24, 2023 Order Regarding Initial Disclosures, Joint Status Report, and Early Settlement,

16 counsel for Plaintiffs and counsel for Defendant Amazon.com, Inc. (“Amazon”), met and

17 conferred via telephone conference on November 9 and December 7, 2023 and submit this Joint

18 Status Report and Discovery Plan.

19         1.      Statement of the Nature and Complexity of the Case

20         Plaintiffs’ Position

21         Plaintiffs Federal Trade Commission and the Plaintiff States allege that Amazon engages

22 in an interrelated course of conduct that unlawfully maintains Amazon’s monopolies in two

23 markets, the Online Superstore Market and the Online Marketplace Services Market, and

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 1                      FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                          600 Pennsylvania Avenue, NW
                                                                                Washington, DC 20580
                                                                                       (202) 326-2222
             Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 2 of 56




 1 constitutes an unfair method of competition. First, Amazon deploys a series of anticompetitive

 2 practices that suppress price competition and push prices higher across much of the internet by

 3 creating an artificial price floor and penalizing sellers that offer lower prices off Amazon.

 4 Second, Amazon coerces sellers into using its fulfillment service to obtain Prime eligibility and

 5 successfully sell on Amazon. Each of these tactics—independently and collectively—prevents

 6 Amazon’s rivals from gaining scale and maintains Amazon’s monopolies.

 7          Amazon engages in a pattern and practice of stifling price competition, first by punishing

 8 third-party sellers for offering lower prices on other platforms, and second, through its first-party

 9 anti-discounting algorithm, which disciplines rivals from undercutting Amazon’s prices.

10 Without the ability to attract either shoppers or sellers through lower prices, rivals are unable to

11 gain a critical mass of customers and meaningfully compete against Amazon. At the same time,

12 Amazon’s coercive fulfillment conduct both artificially stunts the growth of independent

13 fulfillment providers and artificially raises the costs that sellers face when seeking to multihome

14 (or offer their products across multiple websites). This limits seller multihoming, thereby

15 suppressing Amazon’s rivals’ ability to compete for sellers by offering better terms and compete

16 for shoppers by offering additional product selection. Amazon’s exclusionary course of conduct

17 works to suppress competition in both relevant markets, foreclosing even an innovative, high-

18 quality rival or potential rival from competing on the merits. Amazon’s conduct also harms

19 consumers in both relevant markets by artificially inflating prices for both shoppers and sellers

20 and by degrading product selection and platform quality.

21          Plaintiffs also allege that Amazon has engaged in an unfair method of competition

22 through its Project Nessie pricing system, which manipulated other online stores’ pricing

23 algorithms to increase prices for shoppers.

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 2                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
             Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 3 of 56




 1          This case presents complex legal and factual issues that require substantial discovery.

 2 Plaintiffs bring this action under Section 5 of the FTC Act, 15 U.S.C. § 45, Section 2 of the

 3 Sherman Act, 15 U.S.C. § 2, and state competition and consumer protection laws.

 4          Amazon’s Position

 5          Plaintiffs’ Complaint uses novel legal theories to challenge common and procompetitive

 6 retail practices. Amazon competes every minute of every day with thousands of online and

 7 brick-and-mortar retailers. To meet that competition, Amazon has relentlessly innovated,

 8 delivering previously unimagined benefits for consumers and pushing competitors to do

 9 likewise, all to make every penny of a consumer’s purchase count for more. To compete in the

10 intensely competitive $7 trillion retail sector, Amazon matches rivals’ discounts, features

11 competitively priced deals rather than overpriced ones, and ensures best-in-class delivery for its

12 Prime subscribers. Those practices—the targets of this antitrust Complaint—benefit consumers

13 and are the essence of competition.

14          It is against this backdrop that Plaintiffs concede, as they must, that this case presents

15 complex legal and factual issues that will require substantial discovery. If this case is not

16 dismissed, as it should be, Amazon anticipates that there will be significant discovery from third-

17 party witnesses located throughout the country, such as retail competitors of Amazon, competing

18 fulfillment providers, and companies that sell their products in the Amazon store and in other

19 competing retail channels. In addition to this unusually large amount of fact discovery, there

20 will be a substantial amount of expert testimony on issues such as the proper relevant market and

21 whether Plaintiffs have proven that Amazon’s practices have caused anticompetitive effects.

22 Finally, Amazon expects that this case will present substantial legal and factual issues that may

23 be properly decided by the Court on the pending motion to dismiss and/or at summary judgment.

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 3                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
             Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 4 of 56




 1          As explained further herein, this is an exceptional case in its scope and complexity. The

 2 schedule that Plaintiffs have proposed is unrealistic given the amount of discovery that they

 3 claim that they need—e.g., they seek the equivalent of 90 party depositions plus an additional 50

 4 third-party depositions per side, they contemplate over a year for document discovery, etc. If

 5 Plaintiffs truly believe that this case must move quickly, as they contend, they must scale back

 6 their excessive discovery proposals.

 7          2.      Proposed Deadline for Joining Additional Parties

 8          Plaintiffs’ Position

 9          Plaintiffs propose that the Court set the deadline to join any additional parties, including

10 additional states or territories of the United States, as 60 days after the Court’s order on

11 Amazon’s motion to dismiss.

12          Plaintiffs believe that giving other government enforcers time to join this case after the

13 Court rules on Amazon’s motion to dismiss will conserve public resources and allow for the

14 efficient and prompt resolution of all government antitrust enforcement actions related to the

15 conduct at issue here. Amazon’s proposal would force government enforcers with similar claims

16 to file separate cases, which would almost certainly be related to this litigation. Amazon’s

17 inefficient proposal would be more burdensome for government plaintiffs and the Court and

18 could unnecessarily delay the progress of this case.

19          Plaintiffs do not anticipate seeking to join any additional parties other than additional

20 states or territories of the United States.

21          Amazon’s Position

22          Amazon proposes that the Court set the deadline to join any additional parties, including

23 additional states or territories of the United States, as 30 days after the Court enters a Scheduling

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 4                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 5 of 56
Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 6 of 56
Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 7 of 56
Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 8 of 56
             Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 9 of 56




 1          Plaintiffs’ Position

 2          The case should move forward as quickly as possible. Amazon’s monopolistic conduct

 3 affects tens of millions of American households, hundreds of thousands of sellers on Amazon,

 4 and hundreds of billions of dollars in commerce every year. Every day that passes is another day

 5 of harm inflicted on shoppers, sellers, and competition. Moreover, Congress has expressed a

 6 “clear intent to prioritize speedy and efficient resolution of government antitrust suits.” United

 7 States v. Google LLC, 2023 WL 2486605, at *9 (E.D. Va. Mar. 14, 2023); see FTC v. Vyera

 8 Pharms., LLC, 2021 WL 76336, at *1 (S.D.N.Y. Jan. 8, 2021) (“The parties and the public have

 9 a significant interest in resolving the issues raised by the [government] plaintiffs’ claims with

10 due expedition.”); United States v. Dentsply Int’l, Inc., 190 F.R.D. 140, 145 (D. Del. 1999)

11 (explaining that Congress recognized “the primacy of antitrust enforcement actions brought by

12 the United States, and that such actions are of special urgency and serve a different purpose than

13 private damages suits because they seek to enjoin ongoing anticompetitive conduct,” and

14 observing that the resolution of government enforcement actions “promotes judicial efficiency

15 by fostering settlement” of related private actions).

16          Plaintiffs’ proposed schedule would allow the Court to set this case for trial starting in

17 May 2026, which balances the strong public interest in the speedy resolution of this case with

18 sufficient time for the parties to conduct fact discovery, exchange expert reports and take expert

19 depositions, brief dispositive and Daubert motions, and prepare this case for trial. Plaintiffs have

20 proposed a number of measures to ensure that fact discovery moves quickly and stays on track,

21 including:

22

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 9                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 10 of 56




 1                A deadline for Amazon to produce information regarding sources of structured

 2                 data, which will facilitate negotiations regarding data discovery (included in

 3                 Plaintiffs’ proposed schedule);

 4                Interim deadlines for document and data productions, which will ensure that

 5                 discovery is moving forward in a steady and orderly manner, and which will help

 6                 avoid a pile-up of discovery disputes or late-produced materials that could derail

 7                 depositions and expert discovery (included in Plaintiffs’ proposed schedule and

 8                 Case Management Order);2

 9                Requirements for the parties to promptly meet and confer regarding custodians,

10                 search terms and/or the use of Technology-Assisted Review, and estimated

11                 production completion deadlines, which will facilitate the progress of document

12                 discovery (included in Plaintiffs’ forthcoming proposed ESI protocol);

13                An interim deadline for the issuance of third-party subpoenas and the production

14                 of third-party declarations upon which any party intends to rely for the purposes

15                 of dispositive motions, which will help avoid last-minute subpoenas and

16                 declarations that could lead to one-sided discovery of third parties or impact the

17                 fact discovery deadline (included in Plaintiffs’ proposed schedule); and

18                Bimonthly status conferences with the Court, which will put pressure on the
19                 parties to make steady progress in discovery, give the parties a forum to seek
20                 informal guidance from the Court on discovery issues, and allow the Court to
21
     2
    Plaintiffs’ proposed Case Management Order is attached as Exhibit A. Amazon does not
22
   believe that a Case Management Order is needed in addition to a Scheduling Order, but Amazon
   has submitted a revised Case Management Order, attached as Exhibit B, that reflects its positions
23
   on the issues addressed in Plaintiffs’ proposed CMO A redline between the parties’ CMO
   submissions is attached as Exhibit C.
24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 10                      FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 11 of 56




 1                   monitor the progress of discovery overall (included in Plaintiffs’ proposed Case

 2                   Management Order).

 3 With these measures and good faith efforts by the parties, Plaintiffs believe this case can be tried

 4 in May 2026. Amazon’s schedule, on the other hand, would push the trial of this case into at

 5 least December 2026, over three years after the filing of this case.

 6          There are seven principal differences between the parties’ proposed schedules and related

 7 proposed Case Management Orders:

 8          Fact discovery: Plaintiffs propose approximately 17 months of fact discovery, starting

 9 from the date of the parties’ initial Rule 26(f) conference on November 9, 2023, with interim

10 deadlines for document and data productions. Amazon proposes approximately 25 months of

11 fact discovery.

12          Plaintiffs believe that the parties can complete fact discovery within 17 months, with the

13 assistance of the various measures Plaintiffs have proposed to keep discovery moving quickly.

14 The longer schedule proposed by Amazon is unnecessarily extended and will needlessly delay

15 the resolution of this case. The drawn-out fact discovery schedule proposed by Amazon will also

16 complicate efforts to coordinate discovery between this case and related cases—in particular,

17 People of the State of California v. Amazon.com, Inc., No. CGC-22-601826 (Cal. Super. Ct.) (the

18 “California Action”), where fact discovery is currently scheduled to close on October 11, 2024.

19 The more closely the fact discovery schedules for this case and the California Action are aligned,

20 the more coordination between the two cases may be feasible, but Amazon’s proposed schedule

21 would push fact discovery in this case to over a year after the close of fact discovery in the

22 California Action.

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 11                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 12 of 56




 1          Amazon’s argument that more time will be needed due to third-party discovery and

 2 coordination issues does not hold water. Plaintiffs believe that significant discovery will be

 3 required in this case—both of Amazon witnesses and third parties—but do not believe that there

 4 is any discovery that can be taken in two years that cannot be accomplished in a year and a half.

 5 Amazon’s proposal is particularly difficult to square with its attempt to limit Plaintiffs to only

 6 ten depositions of Amazon witnesses. As to coordination issues, which are discussed further

 7 below, Plaintiffs believe that a shorter schedule will facilitate coordination with the related cases

 8 that are in discovery—the California Action and the Frame-Wilson and De Coster cases before

 9 this Court.

10          Deadlines for Substantial Completion of Document Production: Plaintiffs’ proposed

11 schedule and Case Management Order (Section 2) include staged deadlines for the substantial

12 completion of document production, requiring the parties to substantially complete document

13 production by August 1, 2024 in response to requests for production issued on or before

14 February 1, 2024, and substantially complete document production by December 1, 2024 in

15 response to requests for production issued on or before June 1, 2024. These deadlines will

16 ensure that the parties make steady progress in document discovery and avoid a pile-up of late

17 document discovery that might otherwise derail the discovery schedule or depositions.

18          Amazon’s counterproposals for interim document production deadlines differ from

19 Plaintiffs’ proposals in two significant respects. First, Amazon’s proposed first deadline for the

20 substantial completion of document production would apply only to the initial discovery requests

21 the parties have already served—and run from the “resolution of any disputes as to the fact or

22 scope of production,” which eviscerates the usefulness of the deadline. Second, while the parties

23 are close to an agreement in principle regarding a second deadline for the substantial completion

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 12                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 13 of 56




 1 of document production (Plaintiffs propose a deadline four and a half months before the close of

 2 fact discovery, while Amazon proposes a deadline four months before the close of fact

 3 discovery) the length of Amazon’s overall fact discovery schedule would warrant a third

 4 intermediate deadline to ensure that document production does not languish until the end of the

 5 schedule. Overall, Plaintiffs’ proposed deadlines are a more effective measure to ensure that

 6 document production proceeds on a rolling basis with enough time for depositions.

 7          Finally, Amazon’s suggestion that Plaintiffs’ schedule would defer the majority of

 8 depositions until February 2025 is misguided. The staged deadlines for document and data

 9 production in Plaintiffs’ proposals will help ensure that discovery moves forward on a rolling

10 basis, but that will not prevent the parties from taking depositions earlier.

11          Deadline for Third-Party Subpoenas: A deadline for the issuance of third-party

12 subpoenas and the production of third-party declarations upon which any party intends to rely for

13 the purposes of dispositive motions will help avoid last-minute subpoenas and declarations that

14 could lead to one-sided discovery of third parties and impact the deadline for the close of fact

15 discovery. Amazon suggests that this deadline “ignores the need for coordination with respect to

16 third-party discovery,” but to the extent any such coordination means that the parties would issue

17 subpoenas earlier in fact discovery, that would not conflict with a deadline. And if any

18 coordination issues might otherwise lead the parties to issue subpoenas after Plaintiffs’ proposed

19 deadline—in the last ten weeks of fact discovery—that only underscores the need for a deadline

20 to ensure that discovery stays on track.

21          Information Systems Diagram: Plaintiffs propose that the Court require Amazon to

22 produce information regarding sources of structured data within 14 days after the Court enters a

23 scheduling order, which will facilitate negotiations regarding data discovery and hopefully limit

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 13                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 14 of 56




 1 the need for Plaintiffs to conduct discovery to simply understand what discoverable information

 2 Amazon has. Amazon contends that this is unnecessary because Plaintiffs have already issued a

 3 discovery request for an Information Systems Diagram, but Amazon’s response to that request is

 4 telling: Amazon asserts more than a page of objections (including objections to definitions), and

 5 then agrees to produce some of what Plaintiffs requested by March 1, 2024—three months after

 6 Amazon’s responses and objections. This protracted approach to data discovery is precisely

 7 what Plaintiffs seek to avoid.

 8          Structured Data, Samples, and Data Dictionaries: Plaintiffs’ proposal would require

 9 any party that identifies sources of its own structured data in its Rule 26(a)(1) disclosures, or in

10 supplements or amendments to such disclosures, to provide samples and data dictionaries for that

11 data. Plaintiffs’ proposal would also require any party to provide samples and data dictionaries

12 for structured data called for in requests for production. These requirements eliminate the need

13 for intermediate discovery seeking samples and data dictionaries, and are intended to streamline

14 and speed up discovery negotiations regarding structured data.

15          Plaintiffs have also proposed two sets of deadlines for the completion of structured data

16 production: requirements to produce data sets within a certain number of days after the parties

17 agree to the scope of production, and global deadlines for the completion of data productions

18 throughout the case. These deadlines will ensure that the parties make steady progress in data

19 discovery and avoid a pile-up of late data that might otherwise derail the discovery schedule or

20 expert discovery. Amazon’s proposal, on the other hand, would only require the parties to

21 complete structured data productions by two and half months before the close of fact discovery:

22 a surefire recipe for delay that will severely prejudice Plaintiffs’ efforts to analyze Amazon’s

23 data (which Amazon already has) and prepare for expert discovery.

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 14                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 15 of 56




 1          Expert discovery: Plaintiffs propose equal time for each exchange of expert reports

 2 (opening, rebuttal, and reply); Amazon proposes seven weeks for opening reports, eight weeks

 3 for rebuttal reports, and six weeks for reply reports. Plaintiffs anticipate that Amazon’s rebuttal

 4 reports will include econometric, statistical, and other data-driven analyses which will require

 5 Plaintiffs to spend a significant amount of time to simply ingest and understand Amazon’s

 6 underlying data. As a result, Plaintiffs request that the Court allocate equal time for rebuttal and

 7 reply expert reports.

 8          Dispositive and Daubert Motions: Plaintiffs propose five weeks for opening briefs

 9 (including Thanksgiving), eight weeks for opposition briefs (including the winter holidays and

10 New Years’ Day), and four weeks for replies. Amazon proposes six weeks, six weeks, and four

11 weeks, respectively. Because the parties can begin preparing dispositive and Daubert motions

12 during expert discovery, Plaintiffs do not believe the parties need six weeks after the close of

13 expert discovery to file opening briefs. On the other hand, Plaintiffs respectfully submit that if

14 Amazon files a motion for summary judgment and multiple Daubert motions, Plaintiffs will need

15 more than six weeks to respond given the extent of the factual record and legal issues in this

16 case. Plaintiffs’ proposed schedule also accounts for the fact that the deadlines for opening and

17 opposition briefs would include holidays.

18          Amazon’s Position

19          Plaintiffs’ proposed schedule does not provide sufficient time for discovery and pretrial

20 proceedings given the extensive discovery that Plaintiffs claim they should be entitled to take.

21 Their proposed schedule does not account for the practical difficulties that will be encountered in

22 a case involving extensive third-party discovery of out-of-state witnesses and entities or the

23 effort needed to coordinate discovery among multiple related cases, including five cases pending

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 15                      FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 16 of 56




 1 before this Court. In addition, Amazon submits that Plaintiffs’ proposed Case Management

 2 Order, which includes dates reflected in Plaintiffs’ proposed schedule, is duplicative of the issues

 3 addressed in this Joint Status Report and Discovery Plan and thus unnecessary.

 4          Amazon’s proposed schedule accounts for the time necessary given Plaintiffs’ excessive

 5 discovery plan and the need for coordination of depositions in related cases. Amazon’s proposal

 6 is in line with the actual duration of the pretrial schedules in other major antitrust cases, such as

 7 the recent DOJ v. Google case (nearly three years between complaint and trial) and the FTC’s

 8 case against Shire/Viro Pharma (more than 2.5 years between complaint and trial). If Plaintiffs

 9 want the case to proceed on a quicker schedule, they must present a more realistic discovery

10 plan.

11          While Plaintiffs argue that the case should move forward as quickly as possible, their

12 actions indicate otherwise. Plaintiffs’ multi-year, pre-Complaint investigation was essentially

13 completed in 2022 and yet they waited until September 26, 2023 to file suit. And their actual

14 scheduling proposals are unreasonable and at odds with their stated goal of a quick process. For

15 example, Plaintiffs propose a document production schedule of over one year (February 1, 2025).

16 Reasonably assuming that most fact depositions will take place after documents have been

17 produced, this would only leave three months (until May 9, 2025) to take the majority of the

18 (already unrealistic and unnecessary) 90 7-hour party depositions that Plaintiffs propose—not to

19 mention the 50 7-hour non-party depositions per side that they propose. Even if, as Plaintiffs

20 argue, some depositions can be taken before the completion of document production, the reality

21 is that most will not be, and the amount of time to complete all of Plaintiffs’ proposed

22 depositions will be extremely compressed.

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 16                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 17 of 56




 1          Plaintiffs are also dismissive of the need for a protocol for coordinating depositions in the

 2 related cases against Amazon in this Court and other courts, arguing that such coordination is

 3 “premature,” and that coordination can be accomplished on an ad hoc and informal basis.

 4 Plaintiffs cannot urge that this case proceed at full speed, while arguing that nearly 200

 5 depositions should be taken, and ignoring that Amazon’s witnesses and third-party witnesses are

 6 potentially deponents in eight other cases that will proceed on an overlapping schedule and that

 7 will need to be coordinated in order to proceed in an efficient and less burdensome manner.

 8 Plaintiffs claim that a longer discovery schedule will complicate efforts to coordinate depositions

 9 with the California case, but this is counterintuitive—a longer schedule would allow coordinated

10 depositions to be taken and also allow time for depositions that do not need to be coordinated.

11          With regard to the number of depositions (further discussed, infra, in Section 4(E),

12 Changes to Limitations on Discovery), Amazon’s position is that Plaintiffs’ request for 90 7-hour

13 depositions of party witnesses is excessive and unreasonable, especially given Plaintiffs’ position

14 that they will not have any of their own witnesses be deposed. Amazon has indicated that it is

15 willing to discuss a more reasonable proposal, but Plaintiffs have declined to reconsider their

16 number. Therefore, in the absence of a meaningful proposal, Amazon’s view is that the Federal

17 Rules of Civil Procedure should govern.

18          In developing its proposed schedule, Amazon considered the following issues that must

19 be accounted for in this case:

20          First, this antitrust case will involve significant amounts of discovery from third parties

21 throughout the country, such as the many retail competitors of Amazon and the businesses that

22 sell their goods in the Amazon store. Plaintiffs’ own proposed Case Management Order, which

23 Amazon does not think is necessary, contemplates up to 100 third-party depositions. Based on

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 17                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 18 of 56




 1 experience in the People of the State of California v. Amazon.com, Inc., No. CGC-22-601826

 2 (Cal. Super. Ct.), a case involving overlapping subject matter and substantially the same parties

 3 as this action, the process of subpoenaing documents from and deposing these entities is

 4 extraordinarily time-intensive because, among other reasons, Amazon’s competitors have raised

 5 broad objections to producing categories of documents that are relevant to the issues in this case.

 6 The schedule in this case should provide sufficient time to allow expected discovery issues to be

 7 resolved, through negotiation if possible, so as to avoid burdening the Court with avoidable

 8 discovery disputes and repeated requests to modify the schedule.

 9          Second, there are currently five related cases against Amazon pending before this Court,

10 in addition to cases in other courts, including the California case, that overlap, in significant part,

11 with this case. Discovery in these cases should be coordinated so that all of these cases may

12 proceed in the most efficient manner possible. Among other goals, coordination will help to

13 reduce the burden on witnesses so that they are not required to produce documents multiple

14 times or appear for multiple depositions on the same topics in the related cases. Third-party

15 witnesses in the California case have already requested scheduling accommodations so that they

16 could attempt to coordinate with this case. Such coordination will involve aligning the schedules

17 of the witnesses and the counsel in the related cases and will involve more effort than is typical,

18 albeit for the purposes of achieving greater efficiency and less burden. Amazon has proposed a

19 discovery coordination protocol to Plaintiffs intended to facilitate discovery coordination.

20 Plaintiffs have not agreed that there should be a written protocol, claiming that it is “premature.”

21          Third, Amazon and its counsel in this case have advised Plaintiffs that they are

22 scheduled for trial on August 10, 2026 in the California case. The trial in the California case will

23 be lengthy. Plaintiffs’ proposed schedule is premised on a May 2026 trial date in this case,

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 18                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 19 of 56




 1 which is unrealistic as these proceedings—including post-trial briefing—will overlap with the

 2 previously scheduled California trial. The California case was filed a year prior to this case, in

 3 September 2022, and involves a subset of the issues raised by Plaintiffs in this case. The length

 4 of time that the California court provided for discovery and pretrial proceedings reflects the

 5 complexity and effort required in a case of this nature.

 6          Finally, Amazon notes certain other items proposed by Plaintiffs that are not appropriate

 7 and should not be included in the Court’s Scheduling Order:

 8          1.     Information Systems Diagram: Plaintiffs propose that the Court set a deadline

 9 of 14 days after the Court issues a scheduling order “for Amazon to provide an Information

10 Systems Diagram showing sources of structured data that are potentially relevant to the parties’

11 claims and defenses.” This information is properly the subject of a discovery request, and in fact

12 Plaintiffs have inquired into this subject in their pending document requests. This information is

13 not properly the subject of a Scheduling Order entered without the benefit of briefing on this

14 technical issue. Amazon is willing to meet and confer on Plaintiffs’ request for production of

15 this (and all other) information, as well as the nature of the information to be provided, which

16 does not exist in the ordinary course and would be extraordinarily burdensome to generate, and

17 on all of Plaintiffs’ many discovery requests.

18          2.     Deadline to Serve Third-Party Subpoenas: Plaintiffs propose that the Court

19 order a “[d]eadline for issuance of third-party subpoenas and for production of third-party

20 declarations upon which any party intends to rely for the purposes of dispositive motions.”

21 Amazon submits that there is no need to set a deadline for subpoenas two months in advance of

22 the fact discovery deadline. In addition, such a deadline ignores the need for coordination with

23 respect to third-party discovery among counsel in this and the five related cases against Amazon

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 19                      FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 20 of 56




 1 pending before this Court, as well as the cases pending in other courts, so as not to unnecessarily

 2 and unduly burden third-parties with seriatim discovery on overlapping topics. Moreover, to

 3 avoid any confusion, a deadline for producing third-party declarations should not absolve

 4 Plaintiffs of the obligation to produce in discovery any third-party declarations that they have

 5 obtained during their pre-filing investigation.

 6          3.      Deadlines for Substantial Completion of Document Productions: Despite

 7 noting the complexity and scope of discovery in this case, Plaintiffs propose both in the schedule

 8 above and in Section 2 of their proposed Case Management Order that the parties agree to

 9 substantially complete production within six months of the service of document requests. While

10 Amazon agrees that the parties should provide estimated dates for when they will begin rolling

11 document productions and good faith estimates for the completion of that production, Amazon

12 cannot agree in the abstract to substantial completion deadlines for requests that have not yet

13 been served and for which Amazon does not know the scope.

14          Plaintiffs request Amazon’s blind commitment to substantially complete production for

15 any request between now and February 1, 2024 by August 1, 2024. But nowhere do they provide

16 any indication of the number or type of requests they anticipate serving between now and then.

17 That is, Plaintiffs could serve countless requests for production on January 31, 2024 and seek to

18 enforce a deadline of August 1, 2024 without regard to the burden those as-yet-to-be-disclosed

19 requests impose. In particular, as it relates to potential requests that may require custodial

20 searches, collection, review, and production, Plaintiffs’ proposal is unrealistic. In the

21 investigation the FTC sought documents from more than 130 current and former Amazon

22 employees spanning a four-year period. The FTC agreed to a production schedule in the

23 investigation that allotted more than 12 months for the rolling production of responsive

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 20                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 21 of 56




 1 materials. To meet those deadlines, Amazon had to employ a team of over 300 document

 2 reviewers working full-time for more than a year. To the extent Plaintiffs contemplate anything

 3 near that volume of custodial discovery in this litigation—which they noticeably remain silent on

 4 above and a volume to which Amazon would object—Plaintiffs’ six-month deadlines would

 5 quickly become impractical.

 6          Amazon has already agreed to substantially complete its production for Plaintiffs’

 7 pending 30 document requests by July 1, 2024 (as Plaintiffs initially requested). Plaintiffs object

 8 to Amazon’s proposal to adjust that deadline based on the resolution of any disputes as to the

 9 fact or scope of production, but this is necessary as Amazon cannot commit in the abstract to a

10 deadline for documents it objects to producing. Amazon then proposes that for document

11 requests that have not yet been served, the parties agree to make their best efforts to substantially

12 complete document production by August 15, 2025, four months before the close of fact

13 discovery. (Plaintiffs proposed date for substantial completion of document production is 4.5

14 months before the close of discovery.) These deadlines do not, of course, obviate the parties’

15 commitment to provide good faith estimates for the completion of document production in

16 response to any given request, or to work to complete the production of documents as efficiently

17 as possible.

18          Simply put, Plaintiffs attempt to secure deadlines now for requests that have not yet been

19 served is only going to result in needless discovery disputes. Amazon’s proposal to substantially

20 complete production of documents responsive to Plaintiffs’ pending requests by July 1, 2024 and

21 any to-be-served requests four months prior to the close of fact discovery is eminently

22 reasonable.

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 21                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 22 of 56




 1          4.     Requirements and Deadlines for Structured Data: In Plaintiffs’ schedule

 2 above and Section 3 of their proposed Case Management Order, Plaintiffs propose artificial

 3 requirements and deadlines on the production of structured data that are unnecessary and will

 4 almost exclusively apply to (and burden) Amazon and not Plaintiffs. Moreover, the information

 5 described by Plaintiffs is of the type that can be requested through discovery requests and meet

 6 and confer discussions between the parties, rather than through a Court order. Finally, these

 7 artificial, one-sided deadlines are unrealistic and are more likely to cause unnecessary disputes

 8 than to result in a more streamlined discovery process.

 9          A request for structured data will likely include a request for financial, transactional, and

10 other voluminous data sets. Based on precedent in the pre-suit investigation and related

11 litigations, this will amount to terabytes of data. To handle this volume of data, while also

12 turning around datasets in a realistic and timely manner, Amazon has agreed to complete

13 production in response to Plaintiffs’ pending requests for structured data by July 1, 2024.

14 Amazon has also proposed completing production of structured data in response to additional

15 requests served at least seven months before the close of fact discovery no later than 2.5 months

16 prior to the close of fact discovery (the same amount of time allotted under Plaintiffs’ proposal).

17          By contrast, Plaintiffs’ proposal would obligate Amazon to produce samples and data

18 dictionaries within 45 days after the request was served and then to produce the data within 20 to

19 60 days after the parties agree on the scope of production depending on the size of the data. This

20 proposal is not workable for Amazon for at least two reasons that Plaintiffs completely disregard.

21          First, requiring Amazon to produce samples and data dictionaries unnecessarily increases

22 the time, expense, and effort required to provide the data. The data sets requested in the pre-

23 Complaint investigation (and that Amazon anticipates Plaintiffs will request in the litigation) are

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 22                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
             Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 23 of 56




 1 bespoke data sets. Once requested, a data engineer must engage in numerous steps to put the

 2 data in producible form. For example, a data engineer must first write the code necessary to pull

 3 the requested data, the code must then be tested to determine if it captures the requested data, and

 4 once tested and validated to confirm the code is working as intended, the data must then be

 5 pulled and inspected for any errors. Only after this process, and assuming everything worked as

 6 intended along the way, is the data ready for production. It is much more efficient for Amazon

 7 to undertake this process only once per data set, rather than repeat steps for a sample. In

 8 addition, and given that these data sets are bespoke, data dictionaries do not exist in the ordinary

 9 course and would need to be manually compiled, if possible. Instead of requiring samples and

10 data dictionaries as a matter of course, Amazon proposes that the same obligations to meet and

11 confer for document productions also apply to requests for structured data, including meeting

12 and conferring as to the need for and burden of producing samples and data dictionaries for any

13 particular structured data request.

14          Second, Plaintiffs deadlines on the production of structured data are not realistic.

15 Plaintiffs seek to obligate Amazon to produce structured data within 20 to 60 days after the

16 parties agree on the scope of production depending on the size of the data. But the time needed

17 to undertake the steps necessary to pull the data can, depending on the request, take more time

18 than Plaintiffs allot for the production of data, itself. Indeed, the data sought by Plaintiffs in the

19 investigation was voluminous, totaling over 100 terabytes (each terabyte is the equivalent of

20 approximately 50 million pages (or 2,000 boxes)). 3 Amazon anticipates that Plaintiffs will make

21 similar requests in the litigation (as they have already served requests for financial data). Given

22
     3
      Frank Vecella et al., And You May Find Yourself In a Large Document Review, Association of
23
     Corporate Counsel (May 1, 2009). For comparison, NASA’s Hubble science data processing
     generates just 10 terabytes of new archive data per year.
24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 23                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 24 of 56




 1 that there are known issues with the timelines proposed by Plaintiffs, and Amazon has proposed

 2 a reasonable alternative, it makes no sense to impose Plaintiffs’ proposed deadlines on Amazon.

 3                 (A)     Initial Disclosures

 4          As the Court ordered, the parties exchanged initial disclosures on November 22, 2023.

 5                 (B)     Subjects, Timing, and Potential Phasing of Discovery

 6          Plaintiffs’ Position

 7          Plaintiffs anticipate that discovery will be needed regarding all of Plaintiffs’ claims and

 8 all of Defendants’ anticipated defenses. Plaintiffs anticipate extensive discovery, including

 9 documents and data regarding:

10                Structural and direct evidence of Amazon’s monopoly power, including the scope

11                 of relevant markets;

12                Amazon’s anti-discounting conduct;

13                Amazon’s fulfillment conduct; and

14                Project Nessie.

15          Plaintiffs do not believe that phased discovery is necessary, other than separation of fact

16 and expert discovery; however, Plaintiffs believe that the Court will need to closely oversee

17 discovery to ensure that this case moves forward in a timely fashion and can be tried by mid-

18 2026. Plaintiffs have proposed several measures to keep discovery on track with respect to

19 document production, data production, and third-party discovery. Those measures, which

20 include interim deadlines, are included in Plaintiffs’ proposed Case Management Order.

21          Plaintiffs also request that the Court set regular status conferences so that the Court can

22 track the progress of discovery and the parties can readily obtain guidance from the Court.

23 Plaintiffs propose that the Court schedule a bimonthly video or telephonic status conference

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 24                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 25 of 56




 1 starting two months after the Court sets a scheduling order, and direct the parties to file a joint

 2 status report regarding the status of discovery, any discovery disputes where the Court’s

 3 guidance could be productive, and any other matters the parties wish to bring to the Court’s

 4 attention no later than three business days before each scheduled status conference.

 5          Amazon’s Position

 6          If this case is not dismissed, Amazon anticipates that discovery will be needed regarding

 7 all of Plaintiffs’ claims and all of Amazon’s anticipated defenses. Relevant discovery will

 8 include discovery on the following topics:

 9          -   Documents and information relied on in the Complaint;

10          -   Competition in offline and online retail and the appropriate relevant market;

11          -   Competitive conditions in the markets alleged in the Complaint, including potential

12              substitutions and the policies and practices of Amazon’s competitors;

13          -   The prices and terms at which Amazon’s competitors, including other retailers,

14              marketplaces, third-party sellers, and other participants in the retail market offered

15              products and services;

16          -   The benefits to competition resulting from the Amazon store; and

17          -   The remedies sought by Plaintiffs.

18          Amazon anticipates that it will need extensive discovery from Plaintiffs and third parties

19 located throughout the country, such as the many retail competitors of Amazon and the

20 businesses that sell their goods on the Amazon store.

21          Amazon believes that discovery should be phased, with fact discovery preceding expert

22 discovery, as reflected in both sides’ proposed schedules.

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 25                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 26 of 56




 1          Amazon does not object to regular status conferences with the Court, but bimonthly

 2 status conferences, as Plaintiffs’ propose, would be too frequent and not an efficient use of time.

 3 Amazon submits that quarterly status conferences would be sufficient, and that the parties could

 4 request additional conferences should a time-sensitive dispute arise that cannot be resolved

 5 through the meet and confer process. Amazon believes that status conferences would be most

 6 productive if conducted in person.

 7                  (C)     Electronically Stored Information

 8          The parties are meeting and conferring regarding an ESI Protocol that is a modified

 9 version of the Western District of Washington Model Agreement Regarding Discovery of

10 Electronically Stored Information.

11                  (D)     Privilege Issues

12          The parties are meeting and conferring regarding a proposed Federal Rule of Evidence

13 502(d) order to address inadvertent disclosure. The parties will advise the Court if they believe

14 that an additional order is needed to address further privilege issues.

15                  (E)     Changes to Limitations on Discovery

16          Plaintiffs’ Position

17          Plaintiffs propose the following changes to limitations on discovery, which are included

18 in Plaintiffs’ proposed Case Management Order. Plaintiffs propose that:

19                 Each side is limited to 40 interrogatories in total (the parties are in agreement on

20                  this point).

21                 Each side is limited to 200 requests for admission in total. Requests for

22                  admission relating solely to the authentication or admissibility of documents, data,

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 26                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 27 of 56




 1                   or other evidence (which are issues that the parties must attempt to resolve

 2                   initially through negotiation) do not count against these limits.

 3                  Each side is limited to 630 total deposition hours for party witnesses (including

 4                   former employees of a party being deposed in that capacity) and 350 total

 5                   deposition hours for nonparty witnesses. These time limitations refer to the time

 6                   of testimony actually taken on the record and apply only to fact discovery. The

 7                   following do not count against these limitations: (a) depositions of the parties’

 8                   expert witnesses; (b) sworn testimony taken during Plaintiffs’ pre-Complaint

 9                   investigation or in any other litigation or government investigation; and (c)

10                   depositions taken for the sole purpose of establishing the authenticity or

11                   admissibility of documents, data, or other evidence, provided that such

12                   depositions must be designated as such at the time they are noticed.

13                  Each side may ask the Court for leave to serve additional interrogatories, serve

14                   additional requests for admission, or for additional deposition time.

15          Plaintiffs’ case against Amazon challenges conduct that is at the core of Amazon’s

16 business, and involves multiple arms of Amazon’s operations, including its first-party Retail and

17 third-party Marketplace business units, its online superstore, advertising services, Prime

18 subscription program, and fulfillment services. Amazon has been engaged in the challenged

19 conduct for years to maintain monopolies that affect tens of millions of American households,

20 hundreds of thousands of sellers on Amazon, and hundreds of billions of dollars in commerce

21 every year.

22          Plaintiffs have proposed discovery caps for depositions that reflect a measured attempt to

23 realistically estimate the discovery that is “proportional to the needs of the case, considering the

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 27                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                              600 Pennsylvania Avenue, NW
                                                                                    Washington, DC 20580
                                                                                           (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 28 of 56




 1 importance of the issues at stake in the action, the amount in controversy, the parties’ relative

 2 access to relevant information, the importance of the discovery in resolving the issues, and

 3 whether the burden or expense of [discovery] outweighs its likely benefit.” See Fed. R. Civ. P.

 4 26(b)(1). Courts have adopted similar discovery caps in other major antitrust enforcement

 5 actions, and this case is even broader in scope than those actions. See, e.g., United States v.

 6 Google LLC, No. 20-cv-03010 (D.D.C. Feb. 3, 2021), Dkt. #108-1 (80 fact depositions per side,

 7 including up to 16 14-hour depositions); FTC v. Meta Platforms, Inc., No. 20-cv-03590 (D.D.C.

 8 Mar. 3, 2022), Dkt. #103 (840 deposition hours per side); FTC v. Qualcomm Inc., No. 17-cv-

 9 0220 (N.D. Cal.), Dkt. #71, 75, 206 (no limit on depositions).

10          Amazon’s request to limit party depositions to 10 depositions per side is wholly

11 unrealistic, at odds with Amazon’s own initial disclosures, and inconsistent with Amazon’s

12 proposal for two years of fact discovery. Courts routinely increase the number of depositions

13 parties may take to fit the needs of a case. Limiting Plaintiffs to 10 party depositions for a major

14 antitrust enforcement action against one of the largest companies in the world defies common

15 sense and is a naked attempt by Amazon to hamstring Plaintiffs in discovery. Further, Amazon’s

16 own initial disclosures identify eighteen current and former Amazon witnesses and six broad

17 categories of third parties. Even if Amazon’s disclosures were a realistic guide to the scope of

18 discovery—and they are not, at least as to Amazon witnesses—Amazon’s deposition proposal

19 would prevent Plaintiffs from deposing many of the witnesses Amazon itself contends are likely

20 to have relevant information. Finally, Amazon’s proposal to tightly limit the number of

21 depositions cannot be reconciled with its argument that Amazon needs more than two years in

22 fact discovery, and that the 18 months proposed by Plaintiffs “does not provide sufficient time

23 for discovery . . . in a case of this magnitude and complexity.”

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 28                      FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 29 of 56




 1          Amazon argues that Plaintiffs should be limited in discovery because Plaintiffs have

 2 previously taken testimony from Amazon witnesses as part of their pre-Complaint investigation.

 3 That position is unfounded. Investigations serve a different purpose than discovery in litigation,

 4 and courts have long recognized that a government agency’s pre-complaint investigation is not a

 5 substitute for, and should not limit, post-complaint discovery. See Oklahoma Press Pub Co. v.

 6 Walling, 327 U.S. 186, 201 (1946) (agency investigations are intended “to discover and procure

 7 evidence, not to prove a pending charge or complaint, but upon which to make one if, in the

 8 Administrator’s judgment, the facts thus discovered should justify doing so.”); S.E.C. v. Sargent,

 9 229 F.3d 68, 80 (1st Cir. 2000) (“[T]here is no authority which suggests that it is appropriate to

10 limit the SEC’s right to take discovery based upon the extent of its previous investigation into the

11 facts underlying its case[.]”) (quoting SEC v. Saul, 133 F.R.D. 115, 118 (N.D. Ill. 1990)); SEC v.

12 Jasper, 678 F.3d 1116, 1128-29 (9th Cir. 2012) (pre-complaint interview of defendant was not a

13 substitute for deposition because of “the difference in nature of the SEC’s motivation during an

14 early investigation, at which open-ended questions are typically asked without expectation the

15 witness will be needed at trial, and its motivation at an adverse witness deposition, when battle

16 lines have already been drawn”); see also United States v. GAF Corp., 596 F.2d 10, 14 (2d Cir.

17 1979) (“It is important to remember that the [Justice] Department’s objective at the pre-

18 complaint stage of the investigation is not to ‘prove’ its case but rather to make an informed

19 decision on whether or not to file a complaint.”) (internal citation omitted); FTC v. Texaco, Inc.,

20 555 F.2d 862, 874 (D.C. Cir. 1977) (“In the pre-complaint stage, an investigating agency is

21 under no obligation to propound a narrowly focused theory of a possible future case.”).

22 Plaintiffs conducted investigational hearings before filing a Complaint to determine whether to

23 bring an enforcement action, and to determine the scope of any enforcement action. Now that

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 29                      FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 30 of 56




 1 this case has been filed, depositions will seek testimony to prove up the specific allegations set

 2 forth in the Complaint and lay a foundation for trial. Plaintiffs are not aware of any significant

 3 antitrust enforcement action in which the Court has maintained a cap of 10 depositions for party

 4 witnesses because the government has previously conducted a pre-complaint investigation, and

 5 Amazon has not offered any such authority.

 6          Plaintiffs do not believe that any party depositions of Plaintiffs will be warranted in this

 7 case. Unlike Amazon, Plaintiffs do not have fact witnesses with relevant personal knowledge of

 8 this matter who are likely to testify at trial. Plaintiffs are government agencies and offices acting

 9 in their law enforcement capacity, and the individuals with knowledge of this case are attorneys,

10 economists, and other experts acting at the direction of counsel. As a result, any depositions of

11 Plaintiffs, including depositions of office-holders or staff, would seek the practical equivalent of

12 an examination of opposing counsel. See SEC v. Jasper, 2009 WL 1457755, at *2-3 (N.D. Cal.

13 May 26, 2009); FTC v. U.S. Grant Resources, LLC, 2004 WL 144951, at *9-11 (E.D. La. June

14 25, 2004). Such depositions are disfavored, and generally permitted only upon a showing that

15 “(1) no other means exist to obtain the information; (2) the information sought is relevant and

16 nonprivileged; and (3) the information is crucial to the preparation of the case.” Jasper, 2009

17 WL 1457755, at *2 (citing Shelton v. American Motors, 2000 WL 116082, at *9 (N.D. Ill. Jan.

18 24, 2000)). However, Plaintiffs do not believe the Court needs to address this issue unless and

19 until Amazon seeks depositions from Plaintiffs.

20          The parties also disagree as to the number of requests for admission that each side may

21 serve. Plaintiffs believe their proposal of 200 requests for admissions per side, not including

22 requests for admission relating solely to the authentication or admissibility of documents, data,

23 or other evidence, is reasonable. Requests for admission can be a useful discovery tool to

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 30                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 31 of 56




 1 establish undisputed issues or identify points of dispute, and are less burdensome than

 2 depositions or interrogatories. Moreover, FRCP 36 does not set a default limit on requests for

 3 admissions.

 4          Amazon’s Position

 5          As explained further herein, Amazon proposes the following changes to limitations on

 6 discovery:

 7                 Each side is limited to 40 interrogatories in total (the parties are in agreement on

 8                  this point).

 9                 Each side is limited to 25 requests for admission in total. Requests for admission

10                  relating solely to the authentication or admissibility of documents, data, or other

11                  evidence (which are issues that the parties must attempt to resolve initially

12                  through negotiation) do not count against these limits.

13                 Federal Rule of Civil Procedure 30(a)(2) limits on depositions do not apply to

14                  third-party depositions or expert depositions. Party depositions are subject to

15                  Rule 30(a)(2).

16                 Each side may ask the Court for leave to serve additional interrogatories, serve

17                  additional requests for admission, or for additional deposition time.

18          Amazon disagrees with several of Plaintiffs’ proposals for the reasons stated below.

19 Again, the extensive scope of discovery proposed by Plaintiffs is at odds with their stated desire

20 for a quick schedule. Amazon also reiterates that Plaintiffs’ proposed Case Management Order

21 is unnecessary and should not be entered, as Plaintiffs acknowledge that it covers the same

22 subjects discussed in this Joint Status Report.

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 31                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 32 of 56




 1          Limitations on Discovery. The scope of discovery in this case must be considered in

 2 light of the extensive, four-year investigation that the FTC and certain plaintiff States conducted

 3 prior to filing their Complaint.

 4          During that investigation, Amazon produced to the FTC and certain States approximately

 5 1.7M documents (totaling nearly 10 million pages) from more than 130 custodians negotiated

 6 with the FTC (using search terms requested by the FTC), more than 100 terabytes of data, and

 7 responded to 21 interrogatories (not including subparts) resulting in 130 pages of written

 8 responses by Amazon, and numerous informal requests for information. Despite this massive

 9 record, Plaintiffs are now proposing extensive discovery that far exceeds what would be allowed

10 in even a large civil case.

11          Interrogatories and Requests for Admission: The parties agree that the total number

12 of interrogatories the parties may serve be limited to 40. Amazon proposes that the total number

13 of requests for admissions the parties may serve not exceed 25. Plaintiffs’ proposal for 200

14 requests for admission is excessive, even when considered in light of the other antitrust

15 enforcement actions on which Plaintiffs rely. In a case as complex as this, requests for

16 admission are more likely to cause discovery disputes than to meaningfully reduce the disputed

17 issues for trial. This case involves complex issues such as the appropriate relevant market

18 definition, whether the business practices challenged had anticompetitive effects, and whether an

19 equitable remedy should be imposed and, if so, its nature. The amount of discovery proposed by

20 Plaintiffs is extensive—the equivalent of nearly 200 depositions of Amazon-affiliated and third-

21 party witnesses. (Amazon does not agree with this proposal, except that it agrees that third-party

22 discovery will be extensive.) It is unlikely that requests for admission will meaningfully narrow

23 the issues in dispute on a record this large and complicated. It is far more likely that they will

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 32                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 33 of 56




 1 involve extensive time and effort and disputes that do not create significant efficiencies in the

 2 resolution of this action. Moreover, the need for requests for admission is diminished where, as

 3 here, the parties must state the facts on which there is no dispute in their pretrial statement. See

 4 Local Rules W.D. Wash. LCR 16(h)-(i).

 5          Depositions. Plaintiffs’ proposal for conducting depositions in this case is one-sided and

 6 prejudicial to Amazon.

 7                  a. Party Depositions.

 8          Plaintiffs propose that each side be allowed to take 630 hours of party depositions. That

 9 is the equivalent of 90 7-hour depositions of Amazon. This proposal is contrary to the Federal

10 Rules, unduly burdensome in light of the voluminous discovery available to Plaintiffs from the

11 pre-suit investigation, and unfairly favors Plaintiffs. During the meet and confer, Amazon

12 indicated that it would be willing to discuss a more reasonable proposal by Plaintiffs, but

13 Plaintiffs failed to offer one. Therefore, absent agreement, the Federal Rules of Civil Procedure

14 should apply. First, Federal Rule of Civil Procedure 30(a)(2) provides a presumptive limit of 10

15 depositions per side. This limit is imposed in cases, unlike here, where one side did not have the

16 benefit of a multi-year investigation prior to filing suit. Indeed, the FTC and the investigating

17 States took transcribed, sworn testimony from 30 current and former Amazon employees and an

18 unknown number of third parties, and they attended the questioning, and have transcripts, of

19 more than 30 witnesses subpoenaed by the California Attorney General during its overlapping

20 investigation. Given that Plaintiffs already have the benefit of the extensive pre-filing discovery,

21 there is no need for them to take 80 additional depositions beyond the default amount permitted

22 by the Federal Rules. If Plaintiffs believe that additional party depositions are warranted, they

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 33                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 34 of 56




 1 should seek leave of Court and make a showing as to their reasons for each such deposition, as

 2 contemplated by Rule 30.

 3          Plaintiffs argue that the extensive testimony and documents that they gathered during the

 4 investigation should not be considered because the investigation was for a “different purpose.”

 5 But the subjects of witness examination and document productions during the investigation were

 6 the same as those involved in this case. Importantly, Plaintiffs do not represent that they will not

 7 use any of the evidence gathered in their investigation in this case; in effect, they argue that they

 8 should be entitled to two separate discovery records to use in this case. And although Plaintiffs

 9 insist that that an agency investigation “should not limit[] post-complaint discovery,” the cases

10 they cite do not hold so, and instead address wholly different issues. See Okla. Press Pub Co. v.

11 Walling, 327 U.S. 186, 194–202 (1946) (discussing whether investigative subpoenas violate the

12 Fourth Amendment and exceed congressional intent); United States v. GAF Corp., 596 F.2d 10,

13 12–14 (2d Cir. 1979) (discussing whether an investigative subpoena can reach documents

14 collected in discovery in other cases); FTC v. Texaco, Inc., 555 F.2d 862, 873–74 (D.C. Cir.

15 1977) (discussing the proper standard of relevance for an investigative subpoena); SEC v. Jasper,

16 678 F.3d 1116, 1127–27 (9th Cir. 2012) (discussing whether, in an investigative interview, the

17 agency had motivation to cross-examine the witness such that a hearsay exception applied).

18 Only one, SEC v. Sargent, 229 F.3d 68 (1st Cir. 2000), speaks to the question here. But in that

19 case, the district court allowed the agency no discovery in the civil suit. Id. at 74.

20          Plaintiffs’ proposal for 90 depositions must be considered in light of the voluminous

21 testimony acquired in the pre-suit investigation. Given that Plaintiffs already have the benefit of

22 sworn testimony from more than 30 witnesses in the FTC investigation and 30 more in the

23 California investigation, and that Plaintiffs will surely rely on that testimony in their case,

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 34                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 35 of 56




 1 Plaintiffs’ proposal is excessive and unduly burdensome. Plaintiffs are proposing to depose

 2 Amazon personnel on every workday for the equivalent of four and a half months. The

 3 disruption to Amazon’s business would be enormous and not proportional to the needs of the

 4 case (nor proportional to the number of depositions that Plaintiffs believe Amazon should be

 5 permitted to take). Amazon invited Plaintiffs to make a more reasonable proposal in response to

 6 Amazon’s proposal to revert to the default limit, but they did not do so. And while Plaintiffs

 7 claim they are aware of no “significant” antitrust enforcement action in which the Court has

 8 maintained the default deposition limits, the Court in Qualcomm did just that prior to the parties’

 9 agreement to expand the limit.

10          Second, Plaintiffs assert that no depositions of their own witnesses will be warranted in

11 this case, and so their proposal on the number of depositions is both excessive and one-sided.

12 Plaintiffs took the position in the meet and confer that depositions of Plaintiffs’ party witnesses

13 should be prohibited. As discussed below, this position would be contrary to law, but regardless

14 of how Plaintiffs express their position, the net effect would be to allow Plaintiffs to take 90

15 more depositions than Amazon is permitted to take.

16                  b. Third-Party Depositions.

17          Plaintiffs propose that each side be allowed 350 total hours for non-party depositions,

18 which is the equivalent of 50 7-hour depositions. While the FTC and certain States had the

19 benefit of pre-Complaint depositions, including from third-parties, Amazon had no such

20 opportunity. Accordingly, Amazon proposes that the Fed. R. Civ. P. 30(a)(2) limit on the

21 number of depositions not apply to third-party depositions in this case, and that no limits be

22 imposed on the number of third-party depositions. Third-party discovery will be vital to

23 Amazon’s defense, and Plaintiffs’ proposal is far lower than their proposal for the party

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 35                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 36 of 56




 1 depositions that will be Plaintiffs’ focus. Third-party discovery is critical in any antitrust case,

 2 especially this one. Amazon anticipates that it will seek discovery on its defenses and Plaintiffs’

 3 claims from the Plaintiffs and numerous third parties. For example, discovery of competitors

 4 will be needed to establish the threshold issue of what the relevant market is for this case.

 5 Discovery of competitors and other participants in the market will be needed to establish or

 6 disprove the alleged anticompetitive effects alleged in the Complaint.

 7          Response to Plaintiffs’ justification for its proposed discovery limitations. Amazon’s

 8 proposed number of requests for admission account for the unprecedented volume of material

 9 provided by Amazon during the FTC’s multi-year pre-suit investigation. While Plaintiffs point

10 to discovery caps in other antitrust enforcement actions, the wide-ranging caps across those

11 orders highlight the individual nature of discovery in each case. Plaintiffs also fail to

12 acknowledge that some of the limits in those other cases were by agreement of the parties. For

13 example, in FTC v. Qualcomm Inc., No. 17-cv-0220 (N.D. Cal.), Dkt. #75, with the exception of

14 a cap on 20 interrogatories, the Court ordered that “[t]he discovery limitations in the Federal

15 Rules of Civil Procedure otherwise govern this case.” It was only five months later, and by

16 agreement of the parties, that the Court ordered that “leave is granted to all Parties to conduct in

17 excess of ten (10) depositions per side.” Id. Dkt. #207. And contrary to Plaintiffs’ assertion,

18 there is nothing to suggest the Court embraced “no limit” on depositions.

19          Likewise, Plaintiffs’ reliance on Google is misleading. Plaintiffs neglect to mention that

20 the case order they cite—docket 108—is the second case management order in the case, not the

21 first. The original order simply memorialized the parties’ agreed upon numbers of depositions,

22 interrogatories, and requests for admission. United States v. Google, 20-cv-03010 (D.D.C.) Dkt.

23 #85 (ordering 65 depositions, 45 interrogatories, and 37 requests for admission). After the court

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 36                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 37 of 56




 1 entered that order, parties to the consolidated case, Colorado v. Google, No. 20-cv-3715, filed a

 2 Rule 26 statement. See id., Dkt. #105. In response, Google suggested a small increase to the

 3 amounts already ordered in United States v. Google (such as five additional depositions),

 4 whereas the State parties sought a much larger increase (such as sixty additional depositions,

 5 thirty per side). The order the Plaintiffs cite—docket 108—was the court’s compromise, which

 6 “largely adopted the approach proposed by Google” and denounced the State plaintiffs’ proposal

 7 as “disincentivizing cooperation.” Id., Dkt. #108 at 1–2.

 8          Depositions of government parties and witnesses: Plaintiffs contend that party

 9 depositions of Plaintiffs will not be warranted in this case, and in a meet and confer, they took

10 the position that party depositions of Plaintiffs should be prohibited. Thus, it is evident that

11 Plaintiffs are of the view that their proposed number of party depositions will apply only to

12 Amazon’s witnesses, and the Court should consider Plaintiffs’ position when balancing the

13 parties’ proposals. In any event, Amazon notes that government parties are subject to Rule

14 30(b)(6) depositions. Rule 30(b)(6) explicitly states that “a party may name as the deponent . . .

15 a governmental agency.” Fed. R. Civ. P. 30(b)(6). Numerous decisions in this Circuit have

16 approved or involved Rule 30(b)(6) depositions of government parties. See See In re U.S. Dep’t

17 of Educ., 25 F.4th 692, 704 (9th Cir. 2022); FTC v. DIRECTV, Inc., No. 15-cv-01129, 2016 WL

18 4154851, at *2-3 (N.D. Cal. Aug. 5, 2016) (allowing Rule 30(b)(6) deposition of FTC); Ibrahim

19 v. U.S. Dep’t of Homeland Sec., 912 F.3d 1147, 1162-63 (9th Cir. 2019).

20                  (F)    The Need for Discovery Related Orders

21          The parties are meeting and conferring regarding a Protective Order, Expert Order, ESI

22 Protocol, and Discovery Coordination Protocol. The parties have also met and conferred

23 regarding a Case Management Order. Amazon believes that Plaintiffs’ Case Management Order

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 37                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 38 of 56




 1 is unnecessary because it is duplicative of this Joint Status Report. Nonetheless, to preserve its

 2 position, Amazon is submitting its own version of Plaintiffs’ Case Management Order to set

 3 forth its positions on disputed issues. Amazon also believes that a Discovery Coordination

 4 Protocol is appropriate to coordinate depositions and minimize burden in the eight related cases,

 5 and it has proposed such an order to Plaintiffs.

 6          5.     Items Set Forth in LCR 26(f)(1)

 7                 (A)     Prompt Case Resolution

 8          The parties agree to work together in good faith to promptly resolve the case in

 9 compliance with the Federal Rules, Local Rules of Civil Procedure, and all Court orders.

10                 (B)     Alternate Dispute Resolution

11          The parties have considered the possibility of using alternative dispute resolution

12 procedures but do not believe that the case would benefit from such procedures at this time.

13                 (C)     Related Cases

14          The parties agree that the following cases are related to this case:

15                Frame-Wilson v. Amazon.com, Inc., No 2:20-cv-00424 (W.D. Wash.), Judge John

16                 H. Chun

17                De Coster v. Amazon.com, Inc., No. 2:21-cv-00693 (W.D. Wash.), Judge John H.

18                 Chun

19                Hogan v. Amazon.com, Inc., No. 2:21-cv-00996 (W.D. Wash.), Judge John H.

20                 Chun

21                Hopper v. Amazon.com, Inc., No. 2:23-cv-01523 (W.D. Wash.), Judge John H.

22                 Chun (consolidated with Hogan on November 27, 2023)

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 38                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 39 of 56




 1                Zulily v. Amazon.com, Inc., No. 2:23-cv-01900 (W.D. Wash.), Judge Barbara J.

 2                 Rothstein

 3          The parties agree that the following cases pending in other jurisdictions involve all or a

 4 material part of the same subject matter and all or substantially the same parties as this action:

 5                People of the State of California v. Amazon.com, Inc., No. CGC-22-601826 (Cal.

 6                 Super. Ct.), Judge Ethan P. Schulman

 7                District of Columbia v. Amazon.com, Inc., No. 2021 CA 001775 B (D.C. Super.

 8                 Ct.), Judge Hiram E. Puig-Lugo; dismissed, appeal pending, No. 22-CV-657

 9                 (D.C. Ct. App.)

10                Mbadiwe v. Amazon.com, Inc., No. 1:22-cv-09542 (S.D.N.Y.), Judge Vernon S.

11                 Broderick

12          Plaintiffs’ Position

13          Plaintiffs will work in good faith to coordinate discovery between the related cases to the

14 extent it is reasonably possible to do and are willing to continue meeting and conferring with

15 Amazon regarding a potential Discovery Coordination Protocol. However, Plaintiffs believe that

16 a Discovery Coordination Protocol is premature at this time. Plaintiffs cannot make concrete

17 plans for discovery or meaningfully discuss coordination issues with the plaintiffs in the related

18 cases until a discovery schedule has been set in this case and Plaintiffs know how many

19 depositions they will be able to take. As a result, Plaintiffs propose to meet and confer further

20 regarding a Discovery Coordination Protocol after the Court has issued a scheduling order and

21 either ruled on discovery caps or provided some guidance to the parties regarding depositions.

22          Amazon’s Position

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 39                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 40 of 56




 1          Amazon and numerous non-party witnesses are facing voluminous depositions covering

 2 overlapping topics in this case, in five related cases pending before this Court, and in three other

 3 cases against Amazon in other courts that involve the same types of claims and subject matter.

 4 Amazon proposed a straightforward coordination protocol to Plaintiffs to facilitate deposition

 5 discovery of common Amazon and non-party witnesses in those cases. Such a coordination

 6 protocol is needed in order to help efficiently manage these related and overlapping cases, and to

 7 establish a process to avoid burdening Amazon witnesses and non-party witnesses with multiple

 8 and overlapping depositions in these related cases.

 9                 (D)     Discovery Management

10                     (i) The parties agree to manage discovery in accordance with the Federal

11                         Rules of Civil Procedure and the Local Civil Rules, as modified in Section

12                         4.E above.

13                    (ii) The parties agree that they may benefit from sharing third party discovery

14                         and associated costs (if any) and will explore whether such an agreement

15                         is feasible when appropriate.

16                   (iii) The parties agree that the Court should set regular status conferences so

17                         that the Court can track the progress of discovery and the parties can

18                         readily obtain guidance from the Court. Plaintiffs propose that the Court

19                         schedule a bimonthly video or telephonic status conference starting two

20                         months after the Court sets a scheduling order and direct the parties to file

21                         a joint status report regarding the progress of discovery and any disputes

22                         no later than three business days before each scheduled conference.

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 40                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 41 of 56




 1                         Amazon proposes that quarterly status conferences are sufficient, and that

 2                         status conferences should be held in person.

 3                   (iv) The parties agree that the parties may use the expedited joint motion

 4                         procedure in LCR 37(a)(2), at the moving party’s election. The parties

 5                         agree that the parties may file discovery motions using the standard

 6                         procedure set forth in LCR 7, or such other procedure as the Court may

 7                         direct.

 8                    (v) The parties do not request the assistance of a magistrate judge for

 9                         settlement conferences at this time.

10                   (vi) The parties do not request an abbreviated pre-trial order at this time.

11                   (vii) The parties are meeting and conferring regarding a Protective Order,

12                         Expert Order, ESI Protocol, and Discovery Coordination Protocol. The

13                         parties have also met and conferred regarding a Case Management Order.

14                         Amazon believes that Plaintiffs’ Case Management Order is unnecessary

15                         because it is duplicative of this Joint Status Report. Nonetheless, to

16                         preserve its position, Amazon is submitting its own version of Plaintiffs’

17                         Case Management Order to set forth its positions on disputed issues.

18                 (E)     Anticipated Discovery Sought

19          The parties anticipate that discovery will be needed regarding all of Plaintiffs’ claims,

20 including remedies sought by Plaintiffs, and all of Amazon’s anticipated defenses, as described

21 above in Section 4.B (Subjects, Timing, and Potential Phasing of Discovery).

22                 (F)     Phasing Motions

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 41                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 42 of 56




 1          The parties do not believe at this time that phasing motions will facilitate early resolution

 2 of potentially dispositive issues.

 3                 (G)     Preservation of Discoverable Information

 4          Plaintiffs’ Position

 5          Plaintiffs are concerned that Amazon has not met its obligation to preserve potentially

 6 relevant ESI, including ESI created through messaging applications and collaboration tools,

 7 during Plaintiffs’ pre-suit investigation. Plaintiffs sought confirmation from Amazon that it is

 8 continuing to preserve documents created through Signal, Wickr, Slack, and Brainscape in

 9 particular. Plaintiffs intend to seek discovery on Amazon’s compliance with its preservation

10 obligations and, if necessary, raise any related disputes to the Court promptly.

11          Amazon’s Position

12          Amazon has met and continues to meet its preservation obligations, including for the

13 sources identified by the FTC and Investigating States. During the four-year pre-Complaint

14 investigation, Amazon cooperatively and voluntarily provided information to the FTC and

15 Investigating States about messaging services they identified, such as Signal, Wickr, Slack, and

16 Brainscape, as well as multiple other data sources that led to the production of millions of

17 documents in response to their requests. Specifically, with respect to Signal, Amazon spent over

18 a year corresponding with the FTC and Investigating States, providing information about

19 employees’ use of Signal in response to their requests, inviting staff to review non-responsive

20 messages in camera, and producing a witness to testify on issues of preservation and ephemeral

21 messaging. Amazon and will continue to cooperate with reasonable requests for relevant

22 information and documents in this matter.

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 42                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 43 of 56




 1          Amazon also expects that the FTC and Plaintiff States have ensured the preservation of

 2 all ESI relating to this matter, including but not limited to any communications involving FTC

 3 Commissioners, Front Office personnel, and Staff on personal devices or ephemeral messaging

 4 platforms like Signal—from their inception through the present. Plaintiffs should inform

 5 Amazon what steps, if any, they have taken in this regard, so that any preservation issues in this

 6 case can be examined in a principled and bilateral fashion.

 7                 (H)       Inadvertent Production and Privilege Waiver Issues

 8          The parties are meeting and conferring regarding a proposed Federal Rule of Evidence

 9 502(d) order to address inadvertent disclosure.

10                 (I)       Model Protocol for Discovery of ESI

11                       (i) Plaintiffs’ discoverable ESI consists of emails and other documents

12                           located on Plaintiffs’ servers and internal systems (e.g., Microsoft

13                           Outlook) as well as on third-party messaging applications and

14                           collaboration tools and personal devices to the extent used for

15                           communications relevant to this investigation. Amazon’s discoverable ESI

16                           consists of emails and other documents located on Amazon’s servers and

17                           internal systems as well as the messaging applications and collaboration

18                           tools listed above.

19                    (ii) As stated in Section 4.C. (Electronically Stored Information), the parties

20                           are meeting and conferring regarding an ESI Protocol that is a modified

21                           version of the Western District of Washington Model Agreement

22                           Regarding Discovery of Electronically Stored Information in Civil

23                           Litigation.

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 43                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 44 of 56




 1                 (J)     Alternative to Model Protocol

 2          As stated in Section 4.C (Electronically Stored Information), the parties are discussing a

 3 modified version of the Western District of Washington Model Agreement Regarding Discovery

 4 of Electronically Stored Information.

 5          6.     Discovery Completion Date

 6          Plaintiffs’ Proposal

 7          Plaintiffs propose that fact discovery be completed by April 18, 2025 (approximately 17

 8 months after the start of fact discovery), and that expert discovery be completed by October 31,

 9 2025, as described in the chart at the beginning of Section 4.

10          Amazon’s Proposal

11          Amazon proposes that fact discovery be completed by December 15, 2025 (24 months

12 from the filing of this Joint Status Report and Discovery Plan) and that expert discovery be

13 completed June 1, 2026 (5.5 months after the close of fact discovery), as described in the chart at

14 the beginning of Section 4.

15          7.     Bifurcation

16          Plaintiffs’ Proposal

17          Plaintiffs propose that trial should address only Amazon’s liability under Section 5 of the

18 FTC Act, Section 2 of the Sherman Act, and applicable state competition and consumer

19 protection laws. If the Court renders a decision finding Amazon liable, the parties will then

20 promptly submit a proposal regarding a schedule for any separate remedy hearing, if necessary.

21 This proposal would not limit the ability of any party to take discovery regarding remedies

22 during the time for fact discovery. This approach will allow the Court and the parties to focus on

23 liability issues before turning to the issue of what relief is necessary to stop Amazon’s unlawful

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 44                      FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 45 of 56




 1 activities, restore fair competition, and remedy the harm to competition caused by Amazon’s

 2 conduct.

 3          Amazon’s Proposal

 4          All issues, both liability and remedy, should be tried together. It is significantly more

 5 efficient for the Court, the witnesses, and the parties to participate in one trial rather than in two

 6 separate trials. Moreover, as described above, the FTC and Investigating States spent four years

 7 investigating Amazon prior to filing suit and gathered an enormous amount of data, documents,

 8 and testimony prior to filing this lawsuit. The FTC and the Plaintiff States who chose to join this

 9 lawsuit should already have a position on the remedies that they are seeking, and they should

10 announce that position to the Court in order to provide guidance on the issues to be resolved and

11 the discovery that Amazon will need to develop to defend against Plaintiffs’ requested remedies.

12 If, on the other hand, Plaintiffs do not know what remedy they are seeking, they should advise

13 the Court and Amazon, as it would be remarkable if Plaintiffs brought such a complex lawsuit

14 without an idea of what relief they will ask the Court to enter.

15          8.      Whether the Pretrial Statements and Pretrial Order Called for by Local
                    Civil Rules 16I, (h), (i), and (k), and 16.1 Should Be Dispensed With in Whole
16                  or in Part for the Sake of Economy

17          The parties believe that the case will need to develop further before they can assess

18 whether to dispense in whole or part with the use of pretrial statements and a pretrial order under

19 LCR 16(e), (h), (i), and (l), and under LCR 16.1.

20          9.      Whether the Parties Intend to Utilize the Individualized Trial Program Set
                    Forth in Local Civil Rule 39.2 or any ADR Options Set Forth in Local Civil
21                  Rule 39.1

22          The parties do not intend to use the Individualized Trial Program set forth in LCR 39.2 or

23 the ADR options set forth in LCR 39.1.

24          10.     Any Other Suggestions for Shortening or Simplifying the Case

     JOINT STATUS REPORT AND DISCOVERY PLAN - 45                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
             Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 46 of 56




 1          The parties will in good faith seek to identify opportunities to streamline the case.

 2          11.     The Date the Case Will Be Ready for Trial

 3          Under Plaintiffs’ proposed schedule, this case will be ready for trial on May 26, 2026, as

 4 described in the chart at the beginning of Section 4. Under Amazon’s proposed schedule, this

 5 case will be ready for trial in or after December 2026.

 6          12.     Whether the Trial Will Be Jury or Non-Jury

 7          The parties are not requesting a jury trial at this time.

 8          13.     The Number of Trial Days Required

 9          Plaintiffs’ Position

10          Plaintiffs respectfully submit that it would be premature to estimate the number of trial

11 days needed for this matter until the parties have engaged in fact discovery and can better assess

12 the evidence each side is likely to present at trial. Subject to the foregoing, Plaintiffs estimate

13 that this case will require at least four full weeks of trial.

14          Amazon’s Position

15          Amazon believes that no trial is necessary as the case should be dismissed prior to trial.

16 To the extent a trial is required, Amazon respectfully submits that it would be premature to

17 estimate the number of trial days needed for this matter until the parties have a chance to

18 undertake discovery and better assess the testimonial and documentary evidence each plans to

19 present at trial. Subject to the foregoing and reserving all rights, Amazon estimates that the case

20 will require at least six full weeks of trial.

21          14.     The Names, Addresses, and Telephone Numbers of All Trial Counsel

22          Plaintiffs:

23          Susan A. Musser
            Edward H. Takashima
24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 46                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
           Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 47 of 56




 1         David B. Schwartz
           Stephen E. Antonio
 2         Emily K. Bolles
           Daniel S. Bradley
 3         Emma Dick
           Sara M. Divett
 4         Megan E. B. Henry
           Colin M. Herd
 5         Christine M. Kennedy
           Daniel A. Principato
 6         Danielle C. Quinn
           Z. Lily Rudy
 7         Kelly Schoolmeester
           Christina F. Shackelford
 8         Jake Walter-Warner
           Federal Trade Commission
 9         600 Pennsylvania Avenue, NW
           Washington, DC 20580
10         Telephone: (202) 326-2122 (Musser)
                        (202) 326-2464 (Takashima)
11         Email: smusser@ftc.gov
                   etakashima@ftc.gov
12                 dschwartz1@ftc.gov
                   santonio@ftc.gov
13                 ebolles@ftc.gov
                   dbradley@ftc.gov
14                 edick@ftc.gov
                   sdivett@ftc.gov
15                 mhenry@ftc.gov
                   cherd@ftc.gov
16                 ckennedy@ftc.gov
                   dprincipato@ftc.gov
17                 dquinn@ftc.gov
                   zrudy@ftc.gov
18                 kschoolmeester@ftc.gov
                   cshackelford@ftc.gov
19                 jwalterwarner@ftc.gov

20         Michael Jo
           Assistant Attorney General, Antitrust Bureau
21         New York State Office of the Attorney General
           28 Liberty Street
22         New York, NY 10005
           Telephone: (212) 416-6537
23         Email: Michael.Jo@ag.ny.gov

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 47           FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                600 Pennsylvania Avenue, NW
                                                                      Washington, DC 20580
                                                                             (202) 326-2222
           Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 48 of 56




 1         Rahul A. Darwar
           Assistant Attorney General
 2         Office of the Attorney General of Connecticut
           165 Capitol Avenue
 3         Hartford, CT 06016
           Telephone: (860) 808-5030
 4         Email: Rahul.Darwar@ct.gov

 5         Alexandra C. Sosnowski
           Assistant Attorney General
 6         Consumer Protection and Antitrust Bureau
           New Hampshire Department of Justice
 7         Office of the Attorney General
           One Granite Place South
 8         Concord, NH 03301
           Telephone: (603) 271-2678
 9         Email: Alexandra.c.sosnowski@doj.nh.gov

10         Caleb J. Smith
           Assistant Attorney General
11         Consumer Protection Unit
           Office of the Oklahoma Attorney General
12         15 West 6th Street, Suite 1000
           Tulsa, OK 74119
13         Telephone: (918) 581-2230
           Email: caleb.smith@oag.ok.gov
14
           Jennifer A. Thomson
15         Senior Deputy Attorney General
           Pennsylvania Office of Attorney General
16         Strawberry Square, 14th Floor
           Harrisburg, PA 17120
17         Telephone: (717) 787-4530
           Email: jthomson@attorneygeneral.gov
18
           Michael A. Undorf
19         Deputy Attorney General
           Delaware Department of Justice
20         820 N. French St., 5th Floor
           Wilmington, DE 19801
21         Telephone: (302) 683-8816
           Email: michael.undorf@delaware.gov
22
           Christina M. Moylan
23         Assistant Attorney General
           Chief, Consumer Protection Division
24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 48           FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                600 Pennsylvania Avenue, NW
                                                                      Washington, DC 20580
                                                                             (202) 326-2222
           Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 49 of 56




 1         Office of the Maine Attorney General
           6 State House Station
 2         Augusta, ME 04333-0006
           Telephone: (207) 626-8800
 3         Email: christina.moylan@maine.gov

 4         Gary Honick
           Assistant Attorney General
 5         Deputy Chief, Antitrust Division
           Office of the Maryland Attorney General
 6         200 St. Paul Place
           Baltimore, MD 21202
 7         Telephone: (410) 576-6474
           Email: Ghonick@oag.state.md.us
 8
           Michael Mackenzie
 9         Deputy Chief, Antitrust Division
           Office of the Massachusetts Attorney General
10         One Ashburton Place, 18th Floor
           Boston, MA 02108
11         Telephone: (617) 963-2369
           Email: michael.mackenzie@mass.gov
12
           Scott A. Mertens
13         Assistant Attorney General
           Michigan Department of Attorney General
14         525 West Ottawa Street
           Lansing, MI 48933
15         Telephone: (517) 335-7622
           Email: MertensS@michigan.gov
16
           Zach Biesanz
17         Senior Enforcement Counsel
           Office of the Minnesota Attorney General
18         445 Minnesota Street, Suite 1400
           Saint Paul, MN 55101
19         Telephone: (651) 757-1257
           Email: zach.biesanz@ag.state.mn.us
20
           Lucas J. Tucker
21         Senior Deputy Attorney General
           Office of the Nevada Attorney General
22         100 N. Carson St.
           Carson City, NV 89701
23         Telephone: (775) 684-1100
           Email: LTucker@ag.nv.gov
24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 49          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                               600 Pennsylvania Avenue, NW
                                                                     Washington, DC 20580
                                                                            (202) 326-2222
           Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 50 of 56




 1
           Ana Atta-Alla
 2         Deputy Attorney General
           New Jersey Office of the Attorney General
 3         124 Halsey Street, 5th Floor
           Newark, NJ 07101
 4         Telephone: (973) 648-3070
           Email: Ana.Atta-Alla@law.njoag.gov
 5
           Jeffrey Herrera
 6         Assistant Attorney General
           New Mexico Office of the Attorney General
 7         408 Galisteo St.
           Santa Fe, NM 87501
 8         Telephone: (505) 490-4878
           Email: jherrera@nmag.gov
 9
           Timothy D. Smith
10         Senior Assistant Attorney General
           Antitrust and False Claims Unit
11         Oregon Department of Justice
           100 SW Market St
12         Portland, OR 97201
           Telephone: (503) 934-4400
13         Email: tim.smith@doj.state.or.us

14         Stephen N. Provazza
           Special Assistant Attorney General
15         Chief, Consumer and Economic Justice Unit
           Department of the Attorney General
16         150 South Main Street
           Providence, RI 02903
17         Telephone: (401) 274-4400
           Email: sprovazza@riag.ri.gov
18
           Gwendolyn J. Cooley
19         Assistant Attorney General
           Wisconsin Department of Justice
20         Post Office Box 7857
           Madison, WI 53707-7857
21         Telephone: (608) 261-5810
           Email: cooleygj@doj.state.wi.us
22
           Amazon:
23
           Patty A. Eakes, WSBA #18888
24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 50       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                            600 Pennsylvania Avenue, NW
                                                                  Washington, DC 20580
                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 51 of 56




 1          Molly A. Terwilliger, WSBA #28449
            1301 Second Avenue, Suite 2800
 2          Seattle, WA 98101
            Phone: (206) 274-6400
 3          Email: patty.eakes@morganlewis.com
                    molly.terwilliger@morganlewis.com
 4
            Heidi K. Hubbard (pro hac vice)
 5          John E. Schmidtlein (pro hac vice pending)
            Kevin M. Hodges (pro hac vice)
 6          Jonathan B. Pitt (pro hac vice)
            Carl R. Metz (pro hac vice)
 7          Carol J. Pruski (pro hac vice)
            Constance T. Forkner (pro hac vice)
 8          680 Maine Avenue SW
            Washington, DC 20024
 9          Phone: (202) 434-5000
            Email: hhubbard@wc.com
10                  jschmidtlein@wc.com
                    khodges@wc.com
11                  jpitt@wc.com
                    cmetz@wc.com
12                  cpruski@wc.com
                    cforkner@wc.com
13
            Thomas O. Barnett (pro hac vice)
14          One CityCenter
            850 Tenth Street, NW
15          Washington, DC 20001-4956
            Phone: (202) 662-5407
16          Email: tbarnett@cov.com

17
            15.    The Dates on Which the Trial Counsel may Have Complications to Be
18                 Considered in Setting a Trial Date

19          Plaintiffs’ trial counsel have no known complications at this time. Amazon’s trial

20 counsel are currently scheduled for trial in People of the State of California v. Amazon.com, Inc.,

21 No. CGC-22-601826 (Cal. Super. Ct.), Judge Ethan P. Schulman, commencing on August 10,

22 2026.

23          16.    If, on the due date of the Report, all defendant(s) or respondent(s) have not
                   been served, counsel for the plaintiff shall advise the Court when service will
24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 51                     FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                          600 Pennsylvania Avenue, NW
                                                                                Washington, DC 20580
                                                                                       (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 52 of 56




 1                 be effected, why it was not made earlier, and shall provide a proposed
                   schedule for the required FRCP 26(f) conference and FRCP 26(a) initial
 2                 disclosures.

 3          Defendant Amazon has been served.

 4          17.    Whether Any Party Wishes a Pretrial FRCP 16 Conference With the Judge
                   Prior to Entry of Any Order Pursuant to Rule 16 or Setting of a Schedule
 5                 For This Case.

 6          Plaintiffs request an in-person, video, or telephonic FRCP 16 conference with the Court

 7 prior to entry of an order setting a schedule for this case. Amazon submits that an in-person

 8 conference would be most productive and requests that the FRCP 16 conference be in person.

 9          18.    The Dates Each Nongovernmental Corporate Party Filed its Disclosure
                   Statement Pursuant to FRCP 7.1 and LCR 7.1.
10
            Amazon filed its disclosure statement pursuant to FRCP 7.1 and LCR 7.1 on October 2,
11
     2023 (Dkt. #14).
12

13

14

15

16

17

18

19

20

21

22

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 52                     FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                          600 Pennsylvania Avenue, NW
                                                                                Washington, DC 20580
                                                                                       (202) 326-2222
           Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 53 of 56




 1 Dated: December 15, 2023                   Respectfully submitted,

 2                                            s/ Edward H. Takashima
                                              SUSAN A. MUSSER (DC Bar # 1531486)
 3                                            EDWARD H. TAKASHIMA (DC Bar # 1001641)
                                              DAVID B. SCHWARTZ (NY Reg. # 4947925)
 4                                            DANIELLE C. QUINN (NY Reg. # 5408943)
                                              EMILY K. BOLLES (NY Reg. # 5408703)
 5                                            Federal Trade Commission
                                              600 Pennsylvania Avenue, NW
 6                                            Washington, DC 20580
                                              Tel.: (202) 326-2122 (Musser)
 7                                                   (202) 326-2464 (Takashima)
                                              Email: smusser@ftc.gov
 8                                                   etakashima@ftc.gov
                                                     dschwartz1@ftc.gov
 9                                                   dquinn@ftc.gov
                                                     ebolles@ftc.gov
10
                                              Attorneys for Plaintiff Federal Trade Commission
11

12 s/ Michael Jo                                   s/ Alexandra C. Sosnowski
   Michael Jo (admitted pro hac vice)              Alexandra C. Sosnowski (admitted pro hac
13 Assistant Attorney General, Antitrust Bureau    vice)
   New York State Office of the Attorney           Assistant Attorney General
14 General                                         Consumer Protection and Antitrust Bureau
   28 Liberty Street                               New Hampshire Department of Justice
15 New York, NY 10005                              Office of the Attorney General
   Telephone: (212) 416-6537                       One Granite Place South
16 Email: Michael.Jo@ag.ny.gov                     Concord, NH 03301
   Counsel for Plaintiff State of New York         Telephone: (603) 271-2678
17                                                 Email: Alexandra.c.sosnowski@doj.nh.gov
   s/ Rahul A. Darwar                              Counsel for Plaintiff State of New Hampshire
18 Rahul A. Darwar (admitted pro hac vice)
   Assistant Attorney General                      s/ Caleb J. Smith
19 Office of the Attorney General of Connecticut   Caleb J. Smith (admitted pro hac vice)
   165 Capitol Avenue                              Assistant Attorney General
20 Hartford, CT 06016                              Consumer Protection Unit
   Telephone: (860) 808-5030                       Office of the Oklahoma Attorney General
21 Email: Rahul.Darwar@ct.gov                      15 West 6th Street, Suite 1000
   Counsel for Plaintiff State of Connecticut      Tulsa, OK 74119
22                                                 Telephone: (918) 581-2230
                                                   Email: caleb.smith@oag.ok.gov
23                                                 Counsel for Plaintiff State of Oklahoma

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 53                 FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                      600 Pennsylvania Avenue, NW
                                                                            Washington, DC 20580
                                                                                   (202) 326-2222
           Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 54 of 56




 1 s/ Jennifer A. Thomson                          s/ Michael Mackenzie
   Jennifer A. Thomson (admitted pro hac vice)     Michael Mackenzie (admitted pro hac vice)
 2 Senior Deputy Attorney General                  Deputy Chief, Antitrust Division
   Pennsylvania Office of Attorney General         Office of the Massachusetts Attorney General
 3 Strawberry Square, 14th Floor                   One Ashburton Place, 18th Floor
   Harrisburg, PA 17120                            Boston, MA 02108
 4 Telephone: (717) 787-4530                       Telephone: (617) 963-2369
   Email: jthomson@attorneygeneral.gov             Email: michael.mackenzie@mass.gov
 5 Counsel for Plaintiff Commonwealth of           Counsel for Plaintiff Commonwealth of
   Pennsylvania                                    Massachusetts
 6
   s/ Michael A. Undorf                            s/ Scott A. Mertens
 7 Michael A. Undorf (admitted pro hac vice)       Scott A. Mertens (admitted pro hac vice)
   Deputy Attorney General                         Assistant Attorney General
 8 Delaware Department of Justice                  Michigan Department of Attorney General
   820 N. French St., 5th Floor                    525 West Ottawa Street
 9 Wilmington, DE 19801                            Lansing, MI 48933
   Telephone: (302) 683-8816                       Telephone: (517) 335-7622
10 Email: michael.undorf@delaware.gov              Email: MertensS@michigan.gov
   Counsel for Plaintiff State of Delaware         Counsel for Plaintiff State of Michigan
11
   s/ Christina M. Moylan                          s/ Zach Biesanz
12 Christina M. Moylan (admitted pro hac vice)     Zach Biesanz (admitted pro hac vice)
   Assistant Attorney General                      Senior Enforcement Counsel
13 Chief, Consumer Protection Division             Office of the Minnesota Attorney General
   Office of the Maine Attorney General            445 Minnesota Street, Suite 1400
14 6 State House Station                           Saint Paul, MN 55101
   Augusta, ME 04333-0006                          Telephone: (651) 757-1257
15 Telephone: (207) 626-8800                       Email: zach.biesanz@ag.state.mn.us
   Email: christina.moylan@maine.gov               Counsel for Plaintiff State of Minnesota
16 Counsel for Plaintiff State of Maine
                                                   s/ Lucas J. Tucker
17 s/ Gary Honick                                  Lucas J. Tucker (admitted pro hac vice)
   Gary Honick (admitted pro hac vice)             Senior Deputy Attorney General
18 Assistant Attorney General                      Office of the Nevada Attorney General
   Deputy Chief, Antitrust Division                100 N. Carson St.
19 Office of the Maryland Attorney General         Carson City, NV 89701
   200 St. Paul Place                              Telephone: (775) 684-1100
20 Baltimore, MD 21202                             Email: LTucker@ag.nv.gov
   Telephone: (410) 576-6474                       Counsel for Plaintiff State of Nevada
21 Email: Ghonick@oag.state.md.us
   Counsel for Plaintiff State of Maryland
22

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 54                FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                     600 Pennsylvania Avenue, NW
                                                                           Washington, DC 20580
                                                                                  (202) 326-2222
           Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 55 of 56




 1 s/ Ana Atta-Alla                                s/ Stephen N. Provazza
   Ana Atta-Alla (admitted pro hac vice)           Stephen N. Provazza (admitted pro hac vice)
 2 Deputy Attorney General                         Special Assistant Attorney General
   New Jersey Office of the Attorney General       Chief, Consumer and Economic Justice Unit
 3 124 Halsey Street, 5th Floor                    Department of the Attorney General
   Newark, NJ 07101                                150 South Main Street
 4 Telephone: (973) 648-3070                       Providence, RI 02903
   Email: Ana.Atta-Alla@law.njoag.gov              Telephone: (401) 274-4400
 5 Counsel for Plaintiff State of New Jersey       Email: sprovazza@riag.ri.gov
                                                   Counsel for Plaintiff State of Rhode Island
 6 s/ Jeffrey Herrera
   Jeffrey Herrera (admitted pro hac vice)         s/ Gwendolyn J. Cooley
 7 Assistant Attorney General                      Gwendolyn J. Cooley (admitted pro hac vice)
   New Mexico Office of the Attorney General       Assistant Attorney General
 8 408 Galisteo St.                                Wisconsin Department of Justice
   Santa Fe, NM 87501                              Post Office Box 7857
 9 Telephone: (505) 490-4878                       Madison, WI 53707-7857
   Email: jherrera@nmag.gov                        Telephone: (608) 261-5810
10 Counsel for Plaintiff State of New Mexico       Email: cooleygj@doj.state.wi.us
                                                   Counsel for Plaintiff State of Wisconsin
11 s/ Timothy D. Smith
   Timothy D. Smith, WSBA No. 44583
12 Senior Assistant Attorney General
   Antitrust and False Claims Unit
13 Oregon Department of Justice
   100 SW Market St
14 Portland, OR 97201
   Telephone: (503) 934-4400
15 Email: tim.smith@doj.state.or.us
   Counsel for Plaintiff State of Oregon
16

17

18

19                                             MORGAN, LEWIS & BOCKIUS LLP

20                                             By: s/ Patty A. Eakes
                                               Patty A. Eakes, WSBA #18888
21                                             Molly A. Terwilliger, WSBA #28449
                                               1301 Second Avenue, Suite 2800
22                                             Seattle, WA 98101
                                               Phone: (206) 274-6400
23                                             Email: patty.eakes@morganlewis.com
                                                       molly.terwilliger@morganlewis.com
24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 55                FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                     600 Pennsylvania Avenue, NW
                                                                           Washington, DC 20580
                                                                                  (202) 326-2222
           Case 2:23-cv-01495-JHC Document 135 Filed 12/15/23 Page 56 of 56




 1                                             WILLIAMS & CONNOLLY LLP

 2                                             Heidi K. Hubbard (pro hac vice)
                                               Kevin M. Hodges (pro hac vice)
 3                                             Jonathan B. Pitt (pro hac vice)
                                               Carl R. Metz (pro hac vice)
 4                                             Carol J. Pruski (pro hac vice)
                                               Constance T. Forkner (pro hac vice)
 5                                             680 Maine Avenue SW
                                               Washington, DC 20024
 6                                             Phone: (202) 434-5000
                                               Email: hhubbard@wc.com
 7                                                     khodges@wc.com
                                                       jpitt@wc.com
 8                                                     cmetz@wc.com
                                                       cpruski@wc.com
 9                                                     cforkner@wc.com

10                                             COVINGTON & BURLING LLP

11                                             Thomas O. Barnett (pro hac vice)
                                               One CityCenter
12                                             850 Tenth Street, NW
                                               Washington, DC 20001-4956
13                                             Phone: (202) 662-5407
                                               Email: tbarnett@cov.com
14
                                               Attorneys for Defendant Amazon.com, Inc.
15

16

17

18

19

20

21

22

23

24

     JOINT STATUS REPORT AND DISCOVERY PLAN - 56             FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                  600 Pennsylvania Avenue, NW
                                                                        Washington, DC 20580
                                                                               (202) 326-2222
